Case 8:19-mc-00005-AG-DFM Document 16-2 Filed 09/28/18 Page 1 of 11 Page ID #:238




                   EXHIBIT 12
Case 8:19-mc-00005-AG-DFM Document 16-2 Filed 09/28/18 Page 2 of 11 Page ID #:239
Case 8:19-mc-00005-AG-DFM Document 16-2 Filed 09/28/18 Page 3 of 11 Page ID #:240




                   EXHIBIT 13
Case 8:19-mc-00005-AG-DFM Document 16-2 Filed 09/28/18 Page 4 of 11 Page ID #:241
Case 8:19-mc-00005-AG-DFM Document 16-2 Filed 09/28/18 Page 5 of 11 Page ID #:242




                   EXHIBIT 14
9/28/2018
       Case                           Agree to Terms
               8:19-mc-00005-AG-DFM Document         of UseFiled
                                                  16-2      - Muddy09/28/18
                                                                    Waters Research
                                                                                Page 6 of 11 Page ID #:243
                                                            SUBSCRIBE    SUBMIT AN IDEA    CONTACT US   日本語



                                          HOME             ABOUT             RESEARCH                        

                                          IN THE NEWS

Terms of Use


                          The reports on this website have been prepared by either Muddy
                          Waters, LLC (“Muddy Waters Research”) or Muddy Waters Capital
                          LLC (“Muddy Waters Capital”). We refer to Muddy Waters Research
                          and Muddy Waters Capital collectively as “Muddy Waters” and
                          individually these entities are referred to as a “Muddy Waters Entity”.
                          Each report speci es the publisher and owner of that report. All
                          reports are for informational purposes only. Under no circumstances
                          should any of these reports or any information herein be construed
                          as investment advice, or as an offer to sell or the solicitation of an
                          offer to buy any securities or other nancial instruments.

                          Muddy Waters Research is an online research publication that
                          produces due diligence-based reports on publicly traded securities,
                          and Muddy Waters Capital LLC is an investment adviser registered
                          with the U.S. Securities and Exchange Commission. The reports are
                          the property of the applicable Muddy Waters Entity that published
                          that report. This website is owned by Muddy Waters Research. The
                          opinions, information and reports set forth herein are solely
                          attributable to the applicable Muddy Waters Entity and are not
                          attributable to any Muddy Waters Related Person (de ned below)
                          (other than the applicable Muddy Waters Entity).

                          By downloading from, or viewing material on this website, you agree
                          to the following Terms of Use. You agree that use of the research on
                          this website is at your own risk. You (or any person you are acting as
                          agent for) agree to hold harmless Muddy Waters Research, Muddy
                          Waters Capital and its a liates and related parties, including, but not
                          limited to any principals, o cers, directors, employees, members,
http://d.muddywatersresearch.com/tou/                                                                         1/6
9/28/2018
       Case    8:19-mc-00005-AG-DFM Document Agree to Terms of UseFiled
                                                         16-2      - Muddy09/28/18
                                                                           Waters Research
                                                                                       Page 7 of 11 Page ID #:244
                     clients, investors, consultants and agents (collectively, the “Muddy
                     Waters Related Persons”) for any direct or indirect losses (including
                     trading losses) attributable to any information on this website or in a
                     research report. You further agree to do your own research and due
                     diligence before making any investment decision with respect to
                     securities of the issuers covered herein (each, a “Covered Issuer”) or
                     any other nancial instruments that reference the Covered Issuer or
                     any securities issued by the Covered Issuer. You represent that you
                     have su cient investment sophistication to critically assess the
                     information, analysis and opinion on this website. You further agree
                     that you will not communicate the contents of reports and other
                     materials on this site to any other person unless that person has
                     agreed to be bound by these Terms of Use. If you access this
                     website, download or receive the contents of reports or other
                     materials on this website on your own behalf, you agree to and shall
                     be bound by these Terms of Use. If you access this website,
                          download or receive the contents of reports or other materials on
                          this website as an agent for any other person, you are binding your
                          principal to these same Terms of Use.

                          You should assume that, as of the publication date of a Muddy
                          Waters report, Muddy Waters Related Persons (possibly along with
                          or through its members, partners, a liates, employees, and/or
                          consultants), Muddy Waters Related Persons clients and/or
                          investors and/or their clients and/or investors have a position (long
                          or short) in one or more of the securities of a Covered Issuer (and/or
                          options, swaps, and other derivatives related to one or more of these
                          securities), and therefore stand to realize signi cant gains in the
                          event that the prices of either equity or debt securities of a Covered
                          Issuer decline or appreciate. Muddy Waters Research, Muddy Waters
                          Capital and/or the Muddy Waters Related Persons intend to continue
                          transacting in the securities of Covered Issuers for an inde nite
                          period after an initial report on a Covered Person, and such person
                          may be long, short, or neutral at any time hereafter regardless of
                          their initial position and views as stated in the research report
                          published by Muddy Waters Research or Muddy Waters Capital.
                          Neither Muddy Waters Research nor Muddy Waters Capital will
                          update any report or information on its website to re ect changes in
                          positions that may be held by a Muddy Waters Related Person.



http://d.muddywatersresearch.com/tou/                                                                               2/6
9/28/2018
       Case    8:19-mc-00005-AG-DFM Document Agree to Terms of UseFiled
                                                         16-2      - Muddy09/28/18
                                                                           Waters Research
                                                                                       Page 8 of 11 Page ID #:245
                     This is not an offer to sell or a solicitation of an offer to buy any
                     security. Neither Muddy Waters Research nor any Muddy Waters
                     Related Person (including Muddy Waters Capital) are offering, selling
                     or buying any security to or from any person through this website or
                     reports on this website. Muddy Waters Research is a liated with
                     Muddy Waters Capital. Muddy Waters Capital is an investment
                     adviser with the U.S. Securities and Exchange Commission and is
                     not registered as investment adviser in any other jurisdiction. Muddy
                     Waters Capital does not render investment advice to anyone unless
                     it has an investment adviser-client relationship with that person
                     evidenced in writing. You understand and agree that Muddy Waters
                     Capital does not have any investment advisory relationship with you
                     or does not owe duciary duties to you. Giving investment advice
                     requires knowledge of your nancial situation, investment objectives,
                     and risk tolerance, and Muddy Waters Capital has no such
                     knowledge about you.

                          If you are in the United Kingdom, you con rm that you are accessing
                          research and materials as or on behalf of: (a) an investment
                          professional falling within Article 19 of the Financial Services and
                          Markets Act 2000 (Financial Promotion) Order 2005 (the “FPO”); or
                          (b) high net worth entity falling within Article 49 of the FPO (each a
                          “Permitted Recipient”). In relation to the United Kingdom, the
                          research and materials on this website are being issued only to, and
                          are directed only at, persons who are Permitted Recipients and,
                          without prejudice to any other restrictions or warnings set out in
                          these Terms of Use, persons who are not Permitted Recipients must
                          not act or rely on the information contained in any of the research or
                          materials on this website.

                          The research and reports presented on this website express the
                          opinion of the applicable Muddy Waters Entity only. Reports are
                          based on generally available information, eld research, inferences
                          and deductions through the applicable Muddy Waters Entity’s due
                          diligence and analytical process. To the best of the applicable
                          Muddy Waters Entity’s ability and belief, all information contained
                          herein is accurate and reliable, and has been obtained from public
                          sources that the applicable Muddy Waters Entity believe to be
                          accurate and reliable, and who are not insiders or connected persons
                          of the Covered Issuers or who may otherwise owe a duciary duty,

http://d.muddywatersresearch.com/tou/                                                                               3/6
9/28/2018
       Case    8:19-mc-00005-AG-DFM Document  Agree to Terms of UseFiled
                                                          16-2      - Muddy09/28/18
                                                                            Waters Research
                                                                                        Page 9 of 11 Page ID #:246
                     duty of con dentiality or any other duty to the Covered Issuer
                     (directly or indirectly). However, such information is presented “as
                     is,” without warranty of any kind, whether express or implied. With
                     respect to their respective research reports, Muddy Waters Research
                     and Muddy Waters Capital makes no representation, express or
                     implied, as to the accuracy, timeliness, or completeness of any such
                     information or with regard to the results to be obtained from its use.
                     Further, any report on this site contains a very large measure of
                     analysis and opinion. All expressions of opinion are subject to
                     change without notice, and neither Muddy Waters Research nor
                     Muddy Waters Capital undertakes to update or supplement any
                     reports or any of the information, analysis and opinion contained in
                     them.

                          In no event shall Muddy Waters Research, Muddy Waters Capital or
                          any Muddy Waters Related Persons be liable for any claims, losses,
                          costs or damages of any kind, including direct, indirect, punitive,
                          exemplary, incidental, special or, consequential damages, arising out
                          of or in any way connected with any information on this website.
                          This limitation of liability applies regardless of any negligence or
                          gross negligence of Muddy Waters Research, Muddy Waters Capital
                          or any Muddy Waters Related Persons. You accept all risks in relying
                          on the information on this website.

                          You agree that the information on this website is copyrighted, and
                          you therefore agree not to distribute this information (whether the
                          downloaded le, copies / images / reproductions, or the link to these
                            les) in any manner other than by providing the following link:
                          http://www.muddywatersresearch.com/research/. If you have
                          obtained research published by Muddy Waters Research or Muddy
                          Waters Capital in any manner other than by download from that link,
                          you may not read such research without going to that link and
                          agreeing to the Terms of Use. You further agree that any dispute
                          between you and Muddy Waters Research and its a liates arising
                          from or related to this report and / or the Muddy Waters Research
                          website or viewing the material hereon shall be governed by the laws
                          of the State of California, without regard to any con ict of law
                          provisions. You knowingly and independently agree to submit to the
                          personal and exclusive jurisdiction of the state and federal courts
                          located in San Francisco, California and waive your right to any other

http://d.muddywatersresearch.com/tou/                                                                                4/6
9/28/2018
      Case    8:19-mc-00005-AG-DFM Document  Agree to Terms
                                                        16-2of Use - Muddy
                                                                 Filed     Waters Research
                                                                        09/28/18      Page 10 of 11 Page ID #:247
                     jurisdiction or applicable law, given that Muddy Waters Research and
                     its a liates are based in San Francisco, California. The failure of
                     Muddy Waters Research or Muddy Waters Capital to exercise or
                     enforce any right or provision of these Terms of Use shall not
                     constitute a waiver of this right or provision. You agree that each
                     Muddy Waters Related Person is a third-party bene ciary to these
                     Terms of Use. If any provision of these Terms of Use is found by a
                     court of competent jurisdiction to be invalid, the parties nevertheless
                     agree that the court should endeavor to give effect to the parties’
                     intentions as re ected in the provision and rule that the other
                     provisions of these Terms of Use remain in full force and effect, in
                     particular as to this governing law and jurisdiction provision. You
                     agree that regardless of any statute or law to the contrary, any claim
                     or cause of action arising out of or related to this website or the
                     material on this website must be led within one (1) year after the
                     occurrence of the alleged harm that gave rise to such claim or cause
                     of action, or such claim or cause of action be forever barred.



                                   I agree to these Terms of Use     agree




Subscribe for                                                                                            
Updates                                                                                 TWITTER           NEWS




Sign up for our mailing list and receive research
                                                                                                          
reports and other related news and updates from                                                         REPORTS
Muddy Waters Research.

     subscribe now 

http://d.muddywatersresearch.com/tou/                                                                               5/6
9/28/2018
      Case                           Agree to Terms
              8:19-mc-00005-AG-DFM Document     16-2of Use - Muddy
                                                         Filed     Waters Research
                                                                09/28/18      Page 11 of 11 Page ID #:248




                                                          HOME      ABOUT      RESEARCH        IN THE NEWS


                                           COPYRIGHT © 2018 MUDDY WATERS RESEARCH, ALL RIGHTS RESERVED.




http://d.muddywatersresearch.com/tou/                                                                       6/6
